
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on July 17, 1979 (374 So.2d 47) reversing the order of the Circuit Court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment by certiorari, the Supreme Court of Florida, by its opinion and judgment dated June 18, 1981, 400 So.2d 456, now lodged in this court, quashed this court’s judgment.
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on October 1, 1979 is withdrawn, the judgment of this court filed July 17, 1979 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court and the order of the trial court is reinstated and affirmed. Costs allowed shall be taxed in the criminal court (Rule 9.400(a) Florida Rules of Appellate Procedure).
